                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )      Case No. 22-03105-CR-S-MDH
                                                      )
WALTER LEE HOORNSTRA,                                 )
                                                      )
                       Defendant.                     )


                                             ORDER

       Before the Court is the Government’s Motion to Dismiss Without Prejudice (Doc. 66). The

Government may, with leave of court, dismiss an indictment. Fed. R. Crim. P. 48(a). Courts can

exercise their discretion to withhold leave only in “the rarest of cases”. United States v. Bernard,

42 F.4th 905, 909 (8th Cir. 2022). Cases where there has been “prosecutorial harassment” or

dismissal is “clearly contrary to manifest public interest” have warranted a court’s withholding of

leave. Id. Neither are present here. Therefore, consistent with Fed. R. Crim. P. 48(a) and United

States v. Bernard, 42 F.4th 905 (8th Cir. 2022) the Court hereby SUSTAINS the Government’s

motion to dismiss the indictment without prejudice.



IT IS SO ORDERED.
DATED: November 19, 2024
                                              /s/ Douglas Harpool
                                              DOUGLAS HARPOOL
                                              UNITED STATES DISTRICT JUDGE




       Case 6:22-cr-03105-MDH           Document 67        Filed 11/19/24      Page 1 of 1
